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                EXHIBIT H
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                                         Sign out of iCloud on your14-10      Filed
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               Sign out of iCloud on your devices
               If you want to stop using iCloud on one of your devices, learn how to sign out and what
               happens when you sign out.



               What happens when you sign out of iCloud on
               your device
               You can sign out of iCloud to stop using iCloud and its related services on your device. These services are
               listed below. Before signing out, make sure that you’re comfortable having these services turned off. If you
               only want to stop using some iCloud features, you can change your iCloud settings instead of signing out
               of iCloud.



                   Apple Pay, Apple Cash, and Apple Card1                     Shared Albums
                   Find My                                                    Messages in iCloud
                   Game Center                                                Reminders
                   Home app to control your HomeKit devices                   Shared Notes
                   iCloud Backup                                              Shared Pages, Numbers, and Keynote
                   iCloud Drive                                               documents

                   iCloud Keychain                                            Updates to your contacts, calendars, reminders,
                                                                              bookmarks, and Safari tabs
                   iCloud Mail
                                                                              Continuity features like Handoff, Universal
                   iCloud Photos
                                                                              Clipboard, and Auto Unlock with your Apple
                   iCloud Shared Photo Library                                Watch
                   Siri Shortcuts                                             App data for any third-party apps that you've
                   Voice Memos                                                installed that use iCloud

               When you sign out, any information stored in iCloud remains available in iCloud. That information will be
               removed from your device unless you choose to keep a copy of that data when prompted.

               If you have iCloud+ and you sign out of iCloud on your device, you lose access to iCloud Private Relay,
               Hide My Email, HomeKit Secure Video support, and custom email domain on that device.2


               How to keep using the App Store, iMessage, and FaceTime on your device
               When you sign out of iCloud, you're also automatically signed out of the App Store, iMessage, and
               FaceTime.

                   To keep using the App Store, sign in with your Apple ID.
                   To keep using iMessage and FaceTime, use your phone number.




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               Sign out on your iPhone, iPad, or Apple Vision
               Pro
               1. Go to Settings, then tap your name.
               2. Scroll down to the bottom.




               3. Tap Sign Out.
               4. Enter your Apple ID password and tap Turn Off. Forgot your Apple ID password?
               5. Turn on the data that you want to keep a copy of on your device.
               6. Tap Sign Out.
               7. Tap Sign Out again to confirm that you want to sign out of iCloud.

               Learn what to do if you can't tap your Apple ID or you can't sign out due to restrictions




               Sign out on your Mac
               In macOS Ventura or later:

               1. Choose Apple menu  > System Settings.
               2. Click your name.




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               3. Click Sign Out.
               4. If you want to a keep a copy of your iCloud data on your Mac before you sign out, make sure that you
                  select the appropriate checkboxes. Then click Keep a Copy.
               5. If you want to keep a copy of your Safari passwords on your Mac, click Keep on This Mac.

               In macOS Monterey or earlier:

               1. Choose Apple menu  > System Preferences.
               2. Click Apple ID, then click Overview.
               3. Click Sign Out.
               4. If you want to a keep a copy of your iCloud data on your Mac before you sign out, make sure that you
                  select the appropriate checkboxes. Then click Keep a Copy.
               5. If you want to keep a copy of your Safari passwords on your Mac, click Keep on This Mac.




               Sign out on your Apple Watch
               When you sign out of iCloud on the iPhone that's paired with your Apple Watch, you're automatically
               signed out of iCloud on your Apple Watch.

               If you set up an Apple Watch for a family member, learn how to unpair and erase that Apple Watch.




               Sign out on your Apple TV
               1. Go to Settings.
               2. Select Users and Accounts.
                     For the default account, select your name, then choose Remove User from Apple TV.
                     For additional accounts, select your name, select iCloud, then choose Sign Out.




               Sign out of iCloud for Windows
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                  1. Open iCloud for Windows.
                  2. Click Sign out.
                  1. Your Apple Cash and Apple Card accounts are linked to your Apple ID. They can't be transferred to a different Apple ID or
                     accessed by a different Apple ID.
                  2. Not all features are available in all countries or regions.

                  Published Date: February 02, 2024

   Helpful?           Yes           No




                  Related topics
                  Manage and use your Apple ID 
                  Sign in with your Apple ID 
                  Change your Apple ID password 



                  Explore Apple Support Community
                  Find what’s been asked and answered by Apple customers.


                            Search the Community


                      Submit




                  Contact Apple Support
                  Need more help? Save time by starting your support request
                  online and we'll connect you to an expert.

                  Get started 

            Support         Sign out of iCloud on your iPhone, iPad, Apple TV, or Mac




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